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 8                               UNITED STATES DISTRICT COURT
 9                              SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L., et al.,                                     Case No.: 18-cv-428-DMS-AHG
12                           Petitioners-Plaintiffs,
                                                           ORDER FOLLOWING HEARING
13     v.
14     U.S. Immigration and Customs
       Enforcement (“ICE”), et al.,
15
                         Respondents-Defendants.
16
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19           A hearing was held on May 16, 2025, on Plaintiffs’ supplemental motion to enforce
20    settlement agreement. After hearing from counsel for the parties, it is hereby ORDERED:
21           1.     The parties will file supplemental briefing and declarations on or before May
22                  23, 2025.
23           2.     The parties may file responses in opposition to any supplemental briefing on
24                  or before May 28, 2025 by 4:30 PM.
25           3.     A hearing on Plaintiffs’ supplemental motion to enforce settlement agreement
26                  will be held on May 30, 2025, at 11:30 AM in Courtroom 13A.
27           It is further ordered that the Government shall inform Plaintiffs’ counsel within 24
28    hours if it detains a member of the Ms. L. class or other qualifying member defined in the

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                                                                                    18-cv-428-DMS-AHG
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